                       Case 1:21-cr-00292-RCL Document 1 Filed 03/10/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                Christopher John Worrell
                                                                     )
                    DOB: XXXXXX                                      )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                     in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1) & (b)(1)(A) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
        Lawful Authority,
        18 U.S.C. § 1752(a)(2) & (b)(1)(A) - Knowingly Engaging in Disorderly or Disruptive Conduct in any Restricted Building
        or Grounds,
        40 U.S.C. § 5104(e)(2) - Violent Entry and Disorderly Conduct on Capitol Grounds,
        18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress,
         18 U.S.C. § 1752(a)(4) & (b)(1)(A) - Knowingly Engaging in Act of Physical Violence in any Restricted Building or
        Grounds.
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                      Alexander Grandy, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                            Digitally
                                                                                                         signed by G.
Date:             03/10/2021                                                                             Michael Harvey
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
